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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

Elizabeth Nelson
PO Box 1422
WARREN MI 48090

Case No. 2:22-cv-10918
ALBERT THROWER
PO Box 6702

Cleveland OH 44101
Judge Leitman

Plaintiff

-VS- Magistrate: Anthony P.
Patti

SERVICE TOWING INC
6006 Rinke Ave

Warren MI 48091 oe ee, _
~T EP oGhC - a) ox
2026 FER PO ped

SERVICE TOWING INC
6006 Rinke Ave Warren MI 48091

ABLE TOWING LLC
6006 Rinke Ave Warren MI 48091

EDWARD D. HERTZ, DECEASED, ESTATE* ex-President
6006 Rinke Ave Warren, MI 48092

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BRUCE HERTZ Secretary
6006 Rinke Ave Warren, MI 48091

Sandra A Hertz Registered Agent of SERVICE TOWING INC.
6006 Rinke Ave Warren MI 48091

RANDY SULLIVAN* Driver Truck 226
6006 Rinke Ave, Warren MI 48091
(mistakenly named as Randy Hertz)

DENNIS HERTZ Driver Truck 162
6006 Rinke Ave., Warren MI 48091

ROBERT SCOTT WARREN PROPERTY MAINTENANCE DIVISION
SUITE 315. ONE CITY SQUARE, WARREN, MI, 48093

BRIAN KIJESKI ID DOE CITY OF WARREN MI PROPERTY
MAINTENANCE 1 City Square, Warren, MI 48093

JAMES CUMMINS BUILDING DEPARTMENT DIRECTOR
1 CITY SQUARE, WARREN, MI 48093

PETE WARACK ID DOE CITY OF WARREN MI EMPLOYEE
1 CITY SQUARE, WARREN, MI 48093

CURTIS GAUSS #22 ID’d DOE CITY WARREN MI DEPARTMENT OF
PROPERTY MAINTENANCE EMPLOYEE | City Square, Warren, MI 48093

1 DOES Id’d= MARY MICHAELS WARREN CITY ATTORNEY
1 City Square 3" Fl Warren MI 48093

GUS GHANAM WARREN MI Service Director
1 City Square, Warren, MI 48093

3 JOHN DOE WARREN POLICE DEPT POLICEMEN
29900 CIVIC CENTER DR WARREN MI 48093

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WARREN POLICE van dyke substation supervisor CAPTAIN WILLIAM
REICHLING 29900 CIVIC CENTER DR WARREN, MI 48093

CITY OF WARREN
1 City Square, Warren, MI 48093

WARREN POLICE COMMISSIONER WILLIAM DWYER
29900 CIVIC CENTER DR WARREN, MI 48093

Mayor James Fouts
1 City Square, Warren, MI 48093

et al. Defendants.

OBJECTION TO THE MAGISTRATES REPORT

MAGISTRATE ERRED TO THE PREJUDICE OF THE PLAINTISS BY
DISMISSING THE LAWSUIT BECAUSE ALL ALLEGATIONS

MUST BE ACCEPTED AS TRUE AND PER THE FACTS SAME AS IF
REWRITTEN HEREIN THE PLAINTIFFS’ STATED A 4, 5, 14%
AMENDMENT CLAIM WHEN CITY DEFENDANTS ENTERED ONTO
PLAINTIFF LEASED PROPERTY WITHOUT COURT ORDER,

NOTICE AND AN OPPORTUNITY TO BE HEARD, WITHOUT TICKET AND
TOWED 4 VEHICLES FROM (Ps’) PRIVATE PROPERTY

FALSIFIED THE ADDRESS THE CARS WERE TOWED FROM

Per record Ps’ filed complaint amended same with ECF 6=operative complaint.
Fourth Amendment “ right of people to be secure in their persons, houses, papers,
and effects, against unreasonable searches and seizures, shall not be violated, and no
warrants shall issue, but upon probable cause, supported by Oath or affirmation, and

particularly describing the place to be searched, and the persons or things to be

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seized.” Per the record all the facts in the complaint must be accepted as true.
Ps=Thrower/Nelson affidavits affirmation everything in complaint is true under oath
per 28 USC Sec 1746. To support denial of summary judgment, an issue of fact
in dispute must be both genuine and material, i.e., one upon which a reasonable fact
finder could base a verdict for the non-moving party and one which is essential to
establishing the claim. Anderson v. Liberty Lobby, 477 U.S. 242, 248. (Ps’) are
pro’se Haines v Kerner, 404 US 519 should be held to a more liberal standard than
attorneys. (Ps’) pray for “liberal standard”. 4 USCA “right of the people to be
secure in their persons, homes, papers, effects, against unreasonable searches and
seizures, shall not be violated...”, by “state actors”, “government officials” or
private parties acting “in concert”, “conspiracy” with same. (PN) 4 vehicles were at
her “home”. (PT) had “personal property” removed from his MI “home” by “state
actors” (D) Scott, Does from 7568 Hudson Ave Warren per-all Exh’ts are from ECF
98: Ex 1, PN=Nelson lease, Ex 2 PT lease is 7568 Hudson Ave, Ex 3 driver’s license,
Ex 4 mail. Ex 25, 26 (PN) tax returns showing 7568 Hudson Ave address, Ex 27
Summer Tax Bill-shows ownership Ex 13- 4 pg deed, Ex 14 Adjacent lot ownership,
Ex 10 (PN) PNC Online Banking form, Ex 11: DTE Energy Bill “7568 Hudson Ave
Warren”, Ex 12 Consumer’s Energy Bill same time, same address, Ex 17 Insurance
papers pg 1-4, Ex 21 Michigan SOS LARA statement for ownership “Saint Anthony

the Great ..Monastery”. See Ex 22; 2011 NILI et al v City of Warren et al, consent

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decree @ para 12 where (D) city of Warren agrees to obtain administrative warrant
if denied entry, yet per Ex 37 Warren Receipt, (D) Scott repeatedly enters (Ps’)

property 3/25/20,

Lawyer for tow company (Ds’) STI Hertz Bros., “”Sixth Circuit in Nugent v
Spectrum Juv Just Servs, 72 F4th 135, 139-140..recognized that several tests
have been employed to determine when a private entity may qualify as a state
actor, including the entwinement test. The test requires Plaintiffs to show that |
PRIVATE ENTITY is ‘entwined in the private entity’s management or |
control.” Brentwood Acad v Tenn Secondary Scholl Athletic Ass’n, 121 SCt
924. In this case (Ps’) allege simple facts in complaint that tow company STI, !
Hertz Bros defendants were called to tow cars off private property by “state

actors”. See Ex 5,6,7,9 ADMISSIONS. As noted, (Ds’) STI, AT LLC, HERTZ :
BROS tow company claims they have a contract with (D) city of Warren that |
mandates they comply with city of Warren employees requests. (Ds’) STI |
towing company have not provided contract. Further, a contract does not make
them immune from violating United States Constitutional rights 4, 5, 14"

Amendment and state laws and in fact shows “as to the elements of these three

theories..nexus test, state compulsion test, and conspiracy framework are all
sufficient bases on which to find private company defendants liable under

1983” Memphis Tenn Local ... v City of Memphis, 361 F3d 898, 905.

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(Ds’) STI, Hertz Bros argue that since police are involved in the illegal tow
scheme, then they are not liable. (D) Scott, Doe -Kijewski, et al., are “state
actors” for 42 USC Sec 1983 purposes. 1°, police or (D) Warren city workers
(D) Scott is “state actor” so it does matter if police are involved or not. 2™) Ex
19 pg 1-4 receipts from (D) STI say “Reqd By: WARREN POLICE
DEPARTMENT”, so if the under oath ADMISSIONS Ex 5-9 police were NOT
involved, creates allegation of further “falsified STI receipt”, to allege “Warren
Police Dept” “Reqd” tow to CYA (Ds’) STI, Hertz Bros. towing cars during
covid pandemic. “Abandoned Vehicle” statute (Ds’) STI, Hertz Bros tow
company are not allowed to tow cars off private property unless called by
property owner or police. (Ps’) aver being aware of this (Ds’) STI tow
company, Hertz Bros “falsified the address” the cars were towed from correct
address-where they were titled to 7568 Hudson Ave, to incorrect address “7528
Hudson Ave”. Like tow companies in Robertson v Breakthrough et al, argue
state law has exclusive “subject matter jurisdiction”, based in “Mich Comp L
Sec 257.252e(1), ..relies on Gilbert-Rutter v Parkview Towers..WL 2016
3913713 at 2 (ED MI).. however Gilbert-Rutter.. concerned a single plaintiff
challenging the one-time tow of a vehicle with expired plates”. See Ex 23
Gilbert-Rutter v Parkview Towers et al., Case 16-11-10, dismissing complaint

@ p 3 para | “Plaintiff's amended complaint, all allegations and claims

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surround the legality of towing of her car from private property of Parkview
Towers. Plaintiff admits .. given 48 hours notice by ..prior to towing.. admits ..
car had expired plates, and .. considered abandoned. .. admits lease .. from
Parkview states.. vehicle can be towed for expired plates” Per MCL
§257.252a(2)(a), an abandoned vehicle is defined ..“[a] vehicle that has
remained on private property without consent of owner.” Case sub judice
differentiated because 4 cars were towed off private property without “notice of
opportunity to be heard”, b) towed during covid lockdown 5/1/20, c) state
actors or STI, ATL, Hertz Bros under Mi Abandoned vehicle code was not
allowed on private property to tow cars d) cars had current plates, insured to
same address as (PN) owner’s driver’s license e) Came on private property
without warrant behind a privacy fence f) “falsified the address on the
paperwork 4 cars were towed from and submitted falsified paperwork to
Warren Police Dept which in turn submitted same LIENS computer, Michigan
Secretary State (SOS) Ex 32 pages 1-2 & Ex 33 MAZDA registration-same
7568 Hudson g) towed without police involvement h) “other acts” case 23-cv-
11508 Nelson et al., v Scott et al., same defendants and tow company towed
different cars 7/7/21, and tow company (Ds’) worked with (D) Scott to “set up”
(PT), false imprisonment, assault, citizens arrests Ex 24 Warren 7/16/21 police

report. “scheme... violated federal statutes and constitutional rights —all ‘arise

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under Constitution, laws, treaties of United States.” 28 USCA Sec 1331. This
Court has jurisdiction. Carmen Auto Sales III Inc. v ..Detroit, 2018 WL
1326295, @ 3-4”, “explaining: ‘Congress—not state a state legislature—
controls federal court jurisdiction..nothing in Sec 257.252e(1).. limits a federal
court’s jurisdiction to hear federal claims...’” Robertson et al v Breakthrough et
al., pg. 11. Facts of complaint, Michigan Vehicle Code Sec 257.252e(1), does
not even apply to facts accepted as true, since only property owner or police can
authorize tows off private property, which “state actor” (D) Scott states under
oath ADMISSION “police not involved” Ex 9 para “1) Who contacted Service
Towing Inc. ... in re 4 vehicles towed from 7568 Hudson Ave., .. adjacent lot
5/1/2020? Response Brian Kijewski-Area 33 Inspector”, working under
Supervisor of Property & Maintenance, (D) Scott, per response, Doe-Kijewski
is not a police officer. ““7) Where you present 5/1/20 @ 7568 Hudson and
adjacent lot when 4 vehicles were towed?..Response YES...9) Were Warren
police present for towing .. 4 vehicles from 7568 Hudson ... Response No.”.
“Breakthrough’s authority to tow vehicles derives from Michigan Vehicle
Code, which allows for towing of an ‘abandoned vehicle’... ‘a vehicle that has
remained on private property without consent of owner’ Mich Code L, Sec
257.252a(2)(a).. towing agency may take custody of an abandoned vehicle.. (i)

at direction of police agency, Sec 257.252(a)(4), or (ii) request of owner of

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private property ..vehicle is located, Sec 257.252a(10).” Tow company (Ds’)
STI, ATL, Hertz Bros cannot rely on state code to violate (Ps) US
Constitutional rights does not even apply per facts accepted as true. Ex 20 pg 1-
2= 4 cars parked on (Ps’) private property. Owner property, Saint Anthony
Monastery, Ex 21 LARA Michigan SOS, Ex 13 Deed pages 1-4 includes 5
properties including 8075 Packard Ave where (PN) lived before 7568 Hudson-
Ex 36 expired driver’s license, Ex 14 Adjacent lot. 3 of cars parked on grass of
adjacent lot owned by same entity. 1 of cars 2012 NISSAN Sentra parked on
concrete Ex 20 pg 2. Each car towed=“overt act”. ADMISSIONS (D) SCOTT:
“7) Where you present 5/1/20 @ 7568 Hudson Ave Warren Mi and the adjacent
lot when the 4 vehicles were towed?..Response YES...9) Were Warren police

present for towing 4 vehicles from 7568 Hudson ...No.”.

MAGISTRATE ERRED DISMISSING COMPLAINT SINCE ALL THAT IS
NEEDED “STATE CLAIM FOR CIVIL CONSPIRACY” IS “OVERT ACT”,

“SINGLE PLAN”, “INJURY TO COMPLAINANT” ECF 104

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“For Plaintiff's to state claim for civil conspiracy, ‘all that must be shown is a
single plan, ..alleged coconspirator shared in general conspiratorial objective,
and overt act was committed in furtherance of conspiracy that caused injury to
complainant”, Memphis, 361 F3d 905. The “conspiracy” was to tow 4 licensed,
, insured cars from (PN) home and take (PT) personal property during covid
pandemic when “citizens” not involved in fighting covid were not allowed on
street. Settled law private parties can “conspired with state actors. (Ds’)
Service Towing Inc=STI, Able Towing LLC=ATL, employees Hertz Bros.,
Sullivan acted “in concert”, “conspiracy” with state (Ds’), engage in conduct
under “color of State law,” and may be subject to liability under section 1983
where they “act jointly” or conspire with state government officials. Brentwood
Acad. v. Tenn. Secondary Sch. Ath. Ass’n, 531 US 288, 296; Tower v. Glover,
467 U.S. 914, 919; holding that, for purposes of finding liability under criminal
law analogue of section 1983, 18 U.S.C. § 242, private individuals acting
jointly with state officers engage in conduct “under color” of state law). All
private defendants ATL, STI, owners (D) EDWARD Hertz (deceased),
DENNIS HERTZ. BRUCE HERTZ, SANDRA HERTZ and
employees=Sullivan “act jointly” and/or “conspire with state government

officials” i.e. (D) Supervisor Scott et al., Brentwood Acad. V Tenn. Secondary

Sch. Ath. Ass’n, supra with City of Warren Cummins, Ghanam, Warack,

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Kijewski, Gauss, Does, (Ds’) all acting in their ‘individual capacities” at all
times per facts of this complaint and conspired with private towing company |

STI, ATL and Hertz Bros., Sullivan, employees.

A) (Ds’) STI, ATL, Hertz Bros claim “just fulfilling a contract”, with (D) city
of Warren, yet existence of a “contract”, “with state and private actors, so |
that action may be attributed to the state’, ‘to take a particular action so that |
really that of state’” Robertson et al v Breakthrough et al@ 12. Memphis
Tenn Area Loc Am Postal Workers Union AFL-CIO v Memphis, 361 F3d
898, 905, “that nexus test, state compulsion test, and conspiracy framework |
are all sufficient bases on which to find private company liable under Sec
1983..elements of these three theories: ..state compulsion test requires proof
that state significantly encouraged or .. coerced either overtly or covertly, to
take a particular action so ..really that of state.’ Moldowan, 578 F3d at 399
CA6. “particular action” illegally tow cars, (Ds’) STI, Hertz Bros., is
mandated by their “contract”, “so that choice is really that of state’

Moldowan, Id.” “.. nexus test requires a sufficient close relationship (i.e.

through state regulation or contract) between state and private actor so..
action may be attributed to state.’” Robertson et al v Breakthough Towing et |

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al., at 12, i.e., “contract” (Ds’) STI, Hertz Bros claim for immunity, in law

shows liability, “contract) between state and private actor so that action may

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be attributed to the state.’” Robertson et al v Breakthrough Towing et al., Id.
.. 1983 civil conspiracy occurs where ‘private party has conspired with state
officials to violate constitutional rights, and (3) an overt act was committed.’
Revis v Meldrum, 489 F3d 273, 290 CA6”, Robertson et al v Breakthrough
Towing et al., supra @ p12. 4 cars were illegally towed is “1983 civil
conspiracy occurs... violate constitutional rights..and (3) an overt act was
committed.’” Overt Act: =Ex 9 (D) “state actor” Warren Property
Maintenance Supervisor Scott ADMISSION, he was there, telephone call
Ex 5 (D) Bruce Hertz ADMISSION, telephone call. Ex 19 (Ds’) STI, Hetz
Bros Falsified tow sheets, falsifying address from correct address, 7568
Hudson Ave, to incorrect address “7528 Hudson”, cars were towed from-
falsified data was given to Warren Police Department enter into LIENS
computer, See Ex 32 pg 1, 33 Michigan Dept State NOTICE ABANDONED
VEHICLE, Ex 34 Registration same address 2-2012 MAZDAs 1) “Owner
Name and Address: 2012 MAZDA JM1CW2CL0C01363 SW Elizabeth
Nelson (see Ex 34 matching Registration for this MAZDA) 7568 Hudson
Ave DATE VEHICLE ... LOCATION 05/01/2020 7528 Hudson Ave
Warren” “overt act” MAZDA #2: “Owner Name and Address: 2012
MAZDA -Ex 32 pg 2 Abandoned Vehicle Petition (VIN)

JM1CW2BLXC0125056 Elizabeth Nelson 7568 Hudson Ave Date Vehicle

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Location 05/01/2020 7528 Hudson Ave Warren...”, again “falsifying
address” submitting same to Warren Police to enter into LIENS computer
causes falsified address to appear on PETITION HEARING ON
ABANDONDED VEHICLEs.
STI, ATL, Hertz Bros., Sullivan knowing look suspicious taking 2 MAZDAs -
& 2 other cars same address it’s registered to, “falsified address”=”overt act” to

7528 Hudson Ave Warren -submitting “overt act”.

Ex 7 (D) Dennis Hertz admitting to towing 1 car, telephone call from “state
actor” to tow cars=overt act= state compulsion test, and conspiracy framework

are all sufficient bases on which to find private company liable under Sec 1983.

MAGISTRATE ERRED WHEN IT DID NOT OPINE THAT Ps’ STATED A
CLAIM OF STATE AND PRIVATE PARTIES TOWING VEHICLES,
TAKING PERSONAL PROPERTY WHEN NO TICKET “NOTICE” WAS
GIVEN IN RE CARS, PERSONAL PROPERTY ECF 104 DISMISSING

CASE

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Due Process: clause Fourteenth Amendment ensures no party will be deprived
of property without notice & opportunity to be heard at a meaningful time and
in a meaningful manner. Fuentes v. Shevin, 92 S. Ct. 1983, .. 14th protection of
property has been broadly extended to "any significant property

interest." Boddie v. Connecticut, 401 U.S. 371, 379, It is undisputed ..

Uninterrupted use of one's vehicle is a substantial property interest, ..before
"local government may so interrupt its use, ..owner is entitled to due

process." Bell v. Burson, 402 U.S. 535, 539. “state actors”. Several of the

“overt acts” are: 1) coming on the private property tow cars and take personal
property of PT, 2) falsifying the address the cars were towed from. 3)
Telephone call from City of Warren Property Doe Kijewski to STI, Hertz Bros
Towing per ADMISSIONS. Per record no ticket or infraction was given for

cars or personal property of Ps’.

“Private parties may also be liable under Sec 1983 if they ‘willfully
participated in joint actions with state agents’ by joining a civil conspiracy with
state officials Memphis Tenn Area Loc.,.. AFL CIO v ..Memphis, 361 F3d 898,
905 CA 6. “knowingly allowed the seizure ...in reckless disregard of statute
requirements’ ...violated Plaintiffs clearly established Fourth Amendment
rights to be free from unreasonable seizures’ Livingston, 151 F.App’x at

476..for plaintiffs to state a claim for civil conspiracy ‘all that must be shown is

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that there was a single plan, Robertson et al., v Breakthrough Towing LLC et
al., @ p 6 para 2, “Plaintiffs .. suggest that ..tows were effected without any

request of property owner, a circumstance not authorized by Mich. Code L Sec.

257.252a”.

Magistrate erred by not finding Ds’ violated (Ps’) United States Constitutional
rights of: I. Due Process: Fourteenth Amendment, (D)’s violated the (Ps’)
Constitutional rights. US Constitution Fourth Amendment rights applicable to
(Ps’) via the 14" Amendment US Constitution Ps’ aver towing 4 vehicles off
private property PROPERLY REGISTERED, TITLED, PLATES ISSUED,
INSURED without notice, when courts were closed due to Covid 19, without court
order is an improper seizure & taking personal property from behind house stated
supra of (PT) prohibited by Fourth Amendment. include the protection of privacy

against arbitrary invasion ... United States v. Ortiz, 422 U.S. 891, 95 S. Ct.

2585, Berger v. State of New York, 388 U.S. 41, 87 S. Ct. 1873, This much was

made clear in Jacobsen, supra, where we explained that first clause of the Fourth

Amendment "Protects two types of expectations, one involving ‘searches,’ the

other ‘seizures.' A ‘search’ occurs when an expectation of privacy that society is
prepared to consider reasonable is infringed. A ‘seizure’ of property occurs where

there is some meaningful interference with an individual's possessory interests in

that property." 466 U. S., at 113.

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MAGISTRATE ERRED TO THE PREJUDICE OF THE PLAINTIFFS
WHEN IT OPINED THAT PLAINTISS DID NOT STATE A CAUSE OF
ACTION OF DUE PROCESS UNDER 5, 14° AMENDMENT “STATE
CREATED RISK” WHEN DEFENDANTS TOWED CARS 5/1/20 WHEN
STATE WAS UNDER COVID LOCKDOWN ECF 104

° Per ECF 6 Facts rewritten herein the defendants violated plaintiffs’
constitutional rights under united states constitution, 5", 14 amendment,
due process cl art 1 sec 17, art 1, sec 11, “Section 1983 imposes civil
liability on a person acting under color of state law who deprives another of
the ‘rights, privileges, or immunities secured by the constitution and laws.’”
Kallstrom v. city of Columbus, 136 f.3d 1055, 1060 CA6 (quoting 42 USC §
1983). “[w]hile state ..does not shoulder an affirmative duty to protect its
citizens from private acts of violence, it may not cause or greatly increase
risk of harm to its citizens without due process of law through its own
affirmative acts.” id. at 1066. (p) Ps’ claims (D) Scott ghanam , Cummins,
Gauss, Hertz Bros, STI, ATL Ds’ in conspiracy were liable for plaintiffs |
increased “state created danger” theory of liability. “liability under state-
created-danger theory is predicated upon affirmative acts by state which
either create or increase risk that an individual will be exposed to private

acts of (danger).” id. to bring a ‘state created danger’ claim, individual must

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show: ‘(1) affirmative act by state which either created or increased risk
[plaintiffs] would be exposed to an act of violence by a third party; (2)
special danger to [plaintiffs] wherein state’s actions placed [plaintifs]
specifically at risk, as distinguished from a risk affects public at large; & (3)
state knew or should have known ..its actions ..endangered [plaintiffs].’
Jones v. Reynolds, 438 F3d 685, 690 CA6 Harlow, 457 US @ 818.
Kallstrom, “an individual’s ‘interest in preserving her life is one of
constitutional dimension.’” Kallstrom, 136 F3d at 1063.

° MAGISTRATE ERRED TO PREJUDICE OF PLAINTIFFS WHEN
IT DID NOT FIND A CAUSE OF ACTION WHEN DEFENDANTS
FALSIFIED THE ADDRESS THAT CARS WERE TOWED FROM ON
PAPERWORK AND/OR PLAINTIFFS HAD A DUE PROCESS RIGHT

TO MAKE A POLICE REPORT IN RE SAME CONCERNING
FALSIFICATION ECF 104 DENYING SAME

Cars were towed from 7568 Hudson, address registered to. Paperwork filled
out by (Ds’) STI, ATL , Hertz Bros., falsified to 7528 Hudson facts supra
rewritten herein (Ds’) violated (Ps’) United States Constitutional rights Due
process/equal protections of laws when per para 21 supra: 7/16/21 (Ps’) attempted
to make a police report with Warren police Dept. concerning “falsification”. Doe
Warren police officer refused to file police report. Ps’ had US Constitutional right
to make police report since physical paperwork shown to Doe police officers

exposed address falsified, “failure to report a crime” 5/1/20 cars towed and again

7/16/21 when attempt to file police report.

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¢ THE MAGISTRATE ERRED TO PREJUDICE OF Ps’ WHEN i
MAGISTRATE ORDER ECF 63 4/4/23 SET FORTH TIMELINE TO |
FILE CERTAIN DOCUMENTS ONE BEING AN AMENDED |
COMPLAINT BY 6/5/23 & 6/5/23 AMENDED COMPLAINT WAS |
FILED IDENTIFYING JOHN DOE DEFENDANTS ECF 73 MOTION
FOR LEAVE AND SAME WAS DENIED ECF 103, IDENTIFYING (D)
CURTIS GAUSS ET AL., WHO WROTE A TICKET WHEN CARS
WERE TOWED 5/1/20

° Under Federal Rule of Civil Procedure 15(a), when a party seeks to amend
their complaint after time for amendment as a matter of course, they must obtain

either the opposing party’s written consent or the court’s leave. The rule

emphasizes that courts "should freely give leave when justice so requires". Denial

of a motion for leave to amend a complaint is reviewed for abuse of discretion. A

trial court is considered to have abused its discretion when its ruling is "based on

an erroneous view of the law or a clearly erroneous assessment of the evidence”.

It’s well settled law that magistrate abuses it’s discretion when failing to allow
amended complaint identifying John Doe parties that are essential to complaint.
Wherefore Ps’ pray Judge will reverse the order of the Magistrate and set the case

for trial Federal Rule of Civil Procedure 72” Foman v Davis 371 US 178, “leave

freely allowed”. |

Albert ThroWer pro’se

CERTIFICATE OF SERVICE

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A copy of the OBJECTION TO THE MAGISTRATES REPORT has been served
on all defendants thru their lawyers, US Mail, email this 2/20/24

A copy of this motion has been served on the below defendants after

calling same to see if they agree with (Ps’) position this 2/20/24

Mark Straetmans/ Rachel Selina 255 E Brown St #320 Birmingham, MI

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éKaex se Elizabeth Nelson pro se

